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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 American Foreign Service Association, et
 al.,

 Plaintiffs,

 v.

 President Donald J. Trump, et al.,
                                               Case No. 1:25-cv-00352
 Defendants.




   [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER

        Upon consideration of Plaintiffs’ motion for a temporary restraining order and

accompanying brief, it is hereby

        ORDERED that the motion is GRANTED; it is further

        ORDERED that Defendants are directed to immediately cease shredding, burning,

or otherwise destroying any documents and that Defendants are directed to retain all

records related to this litigation;

        Defendants are further ORDERED to file a status report within 24 hours of the

issuance of this order notifying the Court of the extent of document destruction that had

occurred before issuance of this order and confirming compliance with this order.

        SO ORDERED.



Dated: March 11, 2025                        _____________________________
                                             THE HON. CARL J. NICHOLS
                                             UNITED STATES DISTRICT JUDGE
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                     NAMES OF PERSONS TO BE SERVED
                    WITH PROPOSED ORDER UPON ENTRY

        Pursuant to Local Civil Rule 7(k), below are the names and addresses of persons
entitled to be notified of entry of the above Proposed Order:

BRETT A. SHUMATE, Principal Deputy Assistant Attorney General, Civil Division,

ERIC J. HAMILTION, Deputy Assistant Attorney General, Federal Programs Branch,

ALEXANDER K. HAAS, Director, Federal Programs Branch,

LAUREN A. WETZLER, Deputy Director, Federal Programs Branch,

CHRISTOPHER D. EDELMAN, Trial Attorney, Federal Programs Branch,

INDRANEEL SUR, Senior Counsel,

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